Case 6:08-cv-01754-JA Document 3 Filed 10/17/08 Page 1 of 5 PagelD 35

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA
ORLANDO DIVISION

CASE No. 6:08-cv-01753-JA
CASE No. 6:08-cv-01754-JA

In re:

CF HOSPITALITY, INC.,
SF HOTELS, INC.,
Debtor,

 

CF HOSPITALITY, INC., d/b/a Sheraton
Downtown Orlando,
Plaintiff/Appellee,

Vv.

GRAMERCY INVESTMENT TRUST, a
Maryland real estate investment trust,
Defendant/Appellant.

Case No. 6:08-bk-03517
Case No. 6:08-bk-03518
Jointly administered under Chapter 11

Adv No. 6:08-ap-126-ABB

 

SF HOTELS, INC., d/b/a Sheraton Miami Mart
Hotel,
Plaintiff/Appellee,

Vv.

GRAMERCY INVESTMENT TRUST, a
Maryland real estate investment trust,
Defendant/Appellant.

 

 

 

Adv No. 6:08-ap-127-ABB

NOTICE OF FILING
AFFIDAVIT OF RYAN SIMONETTI
IN SUPPORT OF EMERGENCY MOTION OF APPELLANT GRAMERCY
INVESTMENT TRUST TO CONSOLIDATE AND EXPEDITE APPEALS OF
BANKRUPTCY COURT’S SECOND PRELIMINARY INJUNCTION ORDERS
AND TO CONSOLIDATE WITH THE RELATED APPEALS OF THE
BANKRUPTCY COURT’S INITIAL PRELIMINARY INJUNCTION ORDERS

Appellant Gramercy Investment Trust, by and through its undersigned counsel, hereby

gives notice of the filing of the Affidavit

Greenberg Traurig, P.A.
Case 6:08-cv-01754-JA Document 3 Filed 10/17/08 Page 2 of 5 PagelD 36

CASE No. 6:08-cv-01753-JA
CASE No. 6:08-cv-01754-JA

Affidavit of Ryan Simonetti In Support of Emergency Motion of Appellant Gramercy
Investment Trust to Consolidate and Expedite Appeals of Bankruptcy Court’s Second
Preliminary Injunction Orders and to Consolidate With the Related Appeals of the Bankruptcy

Court’s Initial Preliminary Injunction Orders dated October 16, 2008, attached hereto.

Respectfully submitted,
John B. Hutton
I. William Spivey, I Florida Bar No. 902160
Florida Bar No. 701076 huttonj@gtlaw.com
spiveyw@gtlaw.com Elliot B. Kula
Greenberg Traurig, P.A. Florida Bar No. 003794
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Greenberg Traurig, P.A.

1221 Brickell Avenue
Miami, Florida 33131
Telephone: (305) 579-0500
Facsimile: (305) 579-0717

By: /s/ John B. Hutton
John B. Hutton
Counsel for Gramercy Investment Trust

CERTIFICATE OF SERVICE

I certify that a copy of this notice of filing was served on October 17, 2008 by U.S. Mail,

e-mail and CM/ECF notice of electronic filing upon:

Frank M. Wolff, Esq.

David R. McFarlin, Esq.

Wolff, Hill, McFarlin & Herron, P.A.
1851 W. Colonial Drive

Orlando, FL 32804

/s/ John B. Hutton
John B. Hutton

2

Greenberg Traurig, P.A.
Case 6:08-cv-01754-JA Document 3 Filed 10/17/08 Page 3 of 5 PagelD 37

UNITED STATES DISTRICT COURT
‘MIDDLE DISTRICT OF FLORIDA

CASE NO. 6:08-cv-01753-JA
CASE No. 6:08-cv-01754-JA

Tn re:
CF HOSPITALITY, INC., Case No. 6:08-bk-03517
SF HOTELS, INC., Case No. 6:08-bk-03518

Debtor, Jointly administered under Chapter 11

 

CF HOSPITALITY, INC., d/b/a Sheraton
Downtown Orlando,
Plaintiff/Appellee,

v. , Adv No. 6:08-ap-126-ABB
GRAMERCY INVESTMENT TRUST, a

Maryland real estate investment trust,
Defendant/Appellant.

 

SF HOTELS, INC., d/b/a Sheraton Miami Mart
Hotel,
Plaintiff/Appellee,

v. Adv No. 6:08-ap-127-ABB
GRAMERCY INVESTMENT TRUST, a

Maryland real estate investment trust,
Defendant/Appellant.

 

 

AFFIDAVIT OF RYAN SIMONETTI
IN SUPPORT OF EMERGENCY MOTION OF APPELLANT GRAMERCY
INVESTMENT TRUST TO CONSOLIDATE AND EXPEDITE APPEALS OF
BANKRUPTCY COURT’S SECOND PRELIMINARY INJUNCTION ORDERS
AND TO CONSOLIDATE WITH THE RELATED APPEALS OF THE
BANKRUPTCY COURT’S INITIAL PRELIMINARY INJUNCTION ORDERS
Case 6:08-cv-01754-JA Document 3 Filed 10/17/08 Page 4 of 5 PagelD 38

Ryan Simonetti, of full age, being duly sworn upon oath, deposes and
states as follows:

1. I am an Associate of Gramercy Investment Trust. As such, I am
authorized to make this affidavit in support of Emergency Motion of Appellant Gramercy
Investment Trust to Consolidate Related Appeals and for Expedited Review of the
September 24, 2008 Second Preliminary Injunction order (the “Preliminary Injunction
Order”) entered in this adversary proceeding on September 24, 2008.

2. Gramercy, the secured lender of the Debtors, is appealing the
bankruptcy court’s Preliminary Injunction Order, which enjoins Gramercy from pursuing
its state law rights against Georgi (a/k/a George) ZacZac and Lourdes ZacZac (the
“ZacZacs”), the non-debtor principals and guarantors of the Debtors, until November 21,
2008 (unless such injunction is extended by the bankruptcy court, or a new injunction is
issued by the bankruptcy court).

3. Gramercy has obtained judgments in its state court guaranty
actions against the ZacZacs in the amount of $96,864,689.06 plus interest, yet Gramercy
has been enjoined from taking any action to execute on those judgments, while no other
creditor of the ZacZacs has been similarly enjoined.

4, Gramercy is concerned that another creditor of the ZacZacs will
obtain judgments, record judgment liens and/or levy on the assets of the ZacZacs ahead
of Gramercy. The ZacZacs are not in bankruptcy, and have not be required to comply

with any of the obligations that are imposed upon a debtor in bankruptcy.
Case 6:08-cv-01754-JA Document 3 Filed 10/17/08 Page 5 of 5 PagelD 39

5. In addition, given that the bankruptcy court has now twice
enjoined Gramercy, there is the likelihood that the bankruptcy court will either extend the
injunction or entertain a third injunction request, based on findings shown by these
appeals to be erroneous, resulting in a proliferation of appeals that could be avoided by
expedited disposition.

6. Gramercy’s interests will potentially be jeopardized in the absence

of an expedited review.

FURTHER AFFIANT SAYETH NAUGHT,

AS

Ryan Siffonetti

STATE OF ee wv York )
COUNTY OF Nt Lor)

th
SWORN TO AND SUBSCRIBED before me this Ils! day of October,

2008. He personally appeared before me, is personally known to me or produced

as identification, and [did] [did not] take an oath.
{NOTARIAL SEAL] Notary Public: Ln
. Print Name:__Michael k avoids

My Commission Expires:

MICHAEL G. KAVOURIAS
Notary Public, State of New York
No. XX-XXXXXXX
Qualified in Nassau County

Commission Expire
MIA 180,233, 606v2 10-8-08 Expires April 30, 2010
